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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA                                     INFORMATION

              V.                                     Case No. 19-MJ-138-SLC
                                                              18 u.s.c. § 371
EDWARD TAYLOR,

              Defendant.



THE UNITED STATES ATTORNEY CHARGES:

                                       COUNT l

                                        Background

       1.     At times material to this information:

              (a)    Defendant EDWARD TAYLOR was a master falconer licensed in

Michigan. He also was a raptor propagator. According to USFWS records, he possessed

a raptor propagation permit from January 28, 2003 to March 31, 2009.

              (b)    The federal Migratory Bird Treaty Act (META) prohibited any

person from taking, possessing, purchasing, bartering, selling, or offering to purchase,

barter, or sell, among other things, migratory birds unless the activities are allowed by

federal permit. 16 U.S.C. § 703(a). Federal regulations required falconers to have a

valid falconry permit from the State in which they reside in order to take, possess, or

transport migratory birds (i.e. raptors) from the wild to use in falconry activities. 50

CFR 21.29(c)(l). Federal regulations also required raptor propagators to have a Federal

raptor propagation permit to, among other things, take from the wild and possess
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raptors for use in propagation activities. 50 CFR 21.30(a)(l)(ii). Northern goshawks are

considered migratory birds and are covered under the MBTA. 50 CFR § 10.13.

                 (c)   Under the MBTA and federal falconry regulations, a permitted

falconer could take raptors from the wild and train them, and use them to hunt small

game. 50 CFR § 21.29(a)(l)(i). Permitted falconers could transfer these wild birds to

other permitted falconers or raptor propagators as a" gift." However, under no

circumstances could a permitted falconer purchase, sell, trade, or barter a raptor that

was taken from the wild. 50 CFR § 21.29(£)(4)(ii).

                 (d)   Under the federal falconry regulations, a general or master falconer

could take no more than two raptors from the wild each year to use in falconry. 50 CFR

§ 21.29(e)(2).

                 (e)   Under the federal falconry regulations, a general or master falconer

could remove nestlings from a nest in accordance with tribal, State, territorial, and

Federal restrictions. 50 CFR 21.29(e)(2)(ii).

                 (£)   Wisconsin falconry regulations stated that no more than two

eyasses (nestlings) could be taken by the same general or master falconer permittee

during the specified season. WI Administrative Code NR 18.12(3)(a). In addition,

Wisconsin falconry regulations stated no person could possess a northern goshawk

taken from the wild or acquired from a rehabilitator unless it is marked and banded

immediately upon possession. WI Administrative Code NR 18.12(3)(d)l.




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              (g)    Under the MBT A and federal raptor propagation regulations, a

permitted raptor propagator could breed migratory birds taken from the wild, and sell

their offspring as captive-bred raptors to other propagators or falconers. 50 CFR §

21.30(b) and 50 CFR § 21.30(g)(l). However, under no circumstances could a permitted

raptor propagator purchase, sell, or barter a raptor that was taken from the wild. 50

CFR § 21.30(g)(3).

              (h)    Federal and State law required holders of state falconry permits

and federal raptor propagator permits to complete a Form 3-186A (USFWS Migratory

Bird Acquisition and Disposition Report), any time they transfer, acquire, release, lose,

or reband a raptor under their permit. 50 CFR § 21.29(e)(6)(i), 50 CPR§ 21.30 (h)(2).

Wisconsin falconry regulations specifically required falconers to report the band

number placed on a northern goshawk taken from the wild within 10 days from the day

the goshawk was taken from the wild. WI Administrative Code NR 18.12(d)3.

              (i)    The Lacey Act, among other things, made it unlawful for a person

to transport, sell, receive, acquire, or purchase any fish or wildlife, which has been

taken, possessed, transported, or sold in violation of any law or regulation of the United

States. 16 U.S.C. § 3372(a)(l). The Lacey Act also made it unlawful for any person to

transport, sell, receive, acquire or purchase in interstate or foreign commerce any fish or

wildlife taken, possessed, transported or sold, in violation of any law or regulation of

any State. 16 U.S.C. § 3372(a)(2)(A). For Lacey Act purposes, the term "taken" meant

captured, killed, or collected. 16 U.S.C. § 33710)(1)




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                                          Conspiracy

       2.     From on or about December 22, 2016, to on about August 9, 2017, in the

Western District and elsewhere, the defendant,

                                      EDWARD TAYLOR,

knowingly and intentionally conspired with J.K. and other persons both known and

unknown to the grand jury, to knowingly, transport, receive, and acquire a northern

goshawk nestling in interstate and foreign commerce, and to cover up said transport,

receipt and acquisition, when in the exercise of due care, the defendant should have

known said northern goshawk nestling was taken, possessed, and transported in

violation of the Migratory Bird Treaty Act (16 U.S.C. § 703(a)), federal falconry

regulations (50 C.F.R.   §   21.29), and Wisconsin falconry regulations (WI Administrative

Code NR 18.12), all in violation of the Lacey Act, 16 U.S.C. §§ 3372(a)(l) and 3373(d)(2).

                                       Manner and Means

       The manner and means by which the conspiracy was sought to be accomplished

included, among other things, the following:

      3.     It was part of the conspiracy that coconspirator J.K., along with S.C, B.C.

and D.K., took two male goshawk nestlings from a nest located on the Chequamegon-

Nicolet National Forest ("CNNF") in Price County, Wisconsin, on May 26, 2017. S.C.

and B.C. kept and banded one of the male goshawk nestlings with band #RO124198.

Coconspirator J.K. kept and banded the other male goshawk nestling with band

#RO122196. Defendant TAYLOR was not present for this taking.




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       4.     It was further part of the conspiracy that later that same day, S.C., B.C.,

D.K., and coconspirator J.K., took two more goshawk nestlings (a male and a female)

from a nest located on state land in Vilas County, Wisconsin, which is located in the

Western District of Wisconsin. Coconspirator J.K. kept both of the goshawk nestlings

for himself. J.K. banded the male goshawk nestling with band #RO122197. J.K. did not

band the female goshawk. Defendant TAYLOR was not present for this taking.

       5.     It was further part of the conspiracy that coconspirator J.K. gave the

female goshawk nestling that was taken on May 26, 2017 from the nest located on state

land in Vilas County, Wisconsin, to defendant TAYLOR, who travelled from his home

in Fruitport, Michigan on May 27, 2017, and met with J.K. at his home in Oak Creek,

Wisconsin, to pick up the female goshawk nestling. Defendant TAYLOR took

possession of the female goshawk nestling and transported it back to his home in

Michigan on May 28, 2017.

       6.     It was further part of the conspiracy that after bringing the female

goshawk nestling home, defendant TAYLOR called B.C. and thanked him for climbing

the tree and obtaining the female goshawk nestling from the Vilas County, Wisconsin

nest on May 26, 2017. TAYLOR offered to buy falconry equipment for B.C. as a thank

you for climbing the nest, but B.C. declined. TAYLOR ended up mailing B.C. a check

dated May 29, 2017 for $100, payable to B.C. When B.C. received the check, he was

upset with TAYLOR because "you're not supposed to give people money for finding a

wild bird."




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        7.     It was further part of the conspiracy that coconspirator J.K. told B.C. that

J.K. was giving the female goshawk nestling to defendant TAYLOR because TAYLOR

had previously given J.K. a captive-bred Finnish goshawk, and J.K. owed TAYLOR a

bird.

        8.     It was further part of the conspiracy that after the taking of the female

goshawk nestling on May 26, 2017, coconspirator J.K. told S.C. and B.C. to "keep it

hush-hush and not tell anybody" that J.K. was giving the female goshawk nestling to

defendant TAYLOR.

        9.     It was further part of the conspiracy that coconspirator J.K. filled out and

submitted to the Wisconsin Department of Natural Resources (WDNR) two Form 3-

186A Migratory Acquisition and Disposition Reports in 2017 regarding these two takes

in May. The first report indicated that J.K. took a male goshawk nestling on 5-26-17 in

Price County, Wisconsin and banded it with #RO122196. The second report indicated

that J.K. took a male goshawk nestling on 5-27-17 in Vilas County, Wisconsin and

banded it with #RO122197. J.K. signed both of these reports under the penalties of

perjury. J.K. failed to submit a Form 3-186A indicating his taking of the female

goshawk nestling in Vilas County, Wisconsin on 5-26-17 with S.C., B.C., and D.K.

        10.    It was further part of the conspiracy that defendant TAYLOR sent an

email on May 28, 2017, at 9:19 p.m., to a Michigan Department of Natural Resources

(MDNR) employee notifying the employee that TAYLORhad: "just returned home from

Wisconsin where I was able to locate and acquire an eyas Northern Goshawk from the wild, from

there state. I obtained the proper permits from Wisconsin to make this acquisition. I will be


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sending you the acquisition and disposition report shortly. I used one of the federal markers that

you sent me.# RO122577 This was placed on the goshawk at the time of capture. Thank You,

Edward Taylor".

       11.     It was further part of the conspiracy that defendant TAYLOR sent another

email on May 31, 2017, at 11:19 a.m., to the MDNR employee saying, "Hello Casey, This is

my 3-186A form for the goshawk I acquired from Wisconsin. Let me know if it is clear enough

for your records. If I need to make changes I will do so. Thank you, Ed Taylor". TAYLOR

attached to his email a Form 3-186A which indicated that TAYLOR took a female

goshawk nestling in Vilas County, Wisconsin and banded it with #RO122577. TAYLOR

signed the report under the penalties of perjury. He dated it 5-27-17.

       12.     It was further part of the conspiracy that defendant TAYLOR sent another

email on May 31, 2017, at 12:25 p.m., to the MDNR employee saying, "Hi Casey, This is a

follow up letter letting you know what I have in my possession at this time. 1 Northern

Goshawk Female Acquired from Michael Acuff on August 10, 2015. Band number RW093374,

1 Northern Goshawk Female Band #RO122577 Acquired from wild 5/27/2017 (Wisconsin

Raptor)". TAYLOR included an updated Form 3-186A which indicated that he captured

the wild female goshawk nestling in Vilas County, Wisconsin on May 27, 2017, and

banded it with #RO122577. TAYLOR signed the updated report under the penalties of

perjury. He dated it 5-27-17.

       13.    It was further part of the conspiracy that coconspirator J.K. submitted to

the WDNR, a Form 1700-076 (Annual Falconry Report). This form listed that for the

time period of August 1, 2016 to July 31, 2017, J.K. acquired three goshawks, more

specifically: (1) banded goshawk #RO122196 acquired on 5-26-17; (2) banded goshawk
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#RO122197 acquired on 5-27-17; and (3) banded goshawk #RX086094 acquired on 12-

22-16, and disposed of on 6-12-17.   J.K. failed to list the female goshawk nestling he
acquired from the nest in Vilas County, Wisconsin on May 26, 2017, and gave to

defendant TAYLOR the next day.       J.K. signed the form attesting that it was "complete,
correct, and not misrepresented in any way."    J.K. dated it August 9, 2017.
                                         Overt Acts

       In furtherance of the conspiracy, and to accomplish its objectives, the

following overt acts were committed in the Western District of Wisconsin, and

elsewhere:

       14.    On or about May 26, 2017, coconspirator J.K. took two goshawk

nestlings (a male and a female) from a nest located on State land in Vilas County,

Wisconsin.   J.K. banded the male goshawk nestling (#RO122197). J.K. did not band
the female goshawk nestling.    J.K. transported the two goshawk nestlings to his
home in Oak Creek, Wisconsin.

       15.    On or about May 27, 2017, defendant TAYLOR travelled from his home

in Fruitport, Michigan to J.K.' s home in Oak Creek, Wisconsin to pick up the female

goshawk nestling.

       16.    On or about May 28, 2017, defendant TAYLOR took possession of the

female goshawk nestling and transported it from Wisconsin to his home in Michigan.

       17.    On or about May 28, 2017, at 9:19 p.m., defendant TAYLOR sent an

email to a Michigan DNR employee notifying the employee that TAYLOR had: "just

returned home from Wisconsin where I was able to locate and acquire an eyas Northern


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Goshawk from the wild, from there state. I obtained the proper permits from Wisconsin to

make this acquisition. I will be sending you the acquisition and disposition report shortly. I

used one of the federal markers that you sent me. # R0122577 This was placed on the

goshawk at the time of capture. Thank You, Edward Taylor".

       18.     On or about May 29, 2017, defendant TAYLOR mailed, and caused to

be mailed, to B.C.'s home in Vilas County, Wisconsin a check for $100, payable to

B.C. The memo section of the check said, "Thank You - Ed."

              (All in violation of Title 18, United States Code, Section 371).



Date                                          SCOffC~ADER
                                              United States Attorney




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